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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

                                                  )
 In re:                                           )   Chapter 11
                                                  )
 ARMSTRONG ENERGY, INC., et al.,                  )   Case No. 17-47541-659
                                                  )
                               Debtors.           )   Jointly Administered
                                                  )
                                                  )   Related Docket Nos. 7, 87

             FINAL ORDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363
              AND 507 AND BANKRUPTCY RULES 2002, 4001 AND 9014
            (I) AUTHORIZING DEBTORS’ USE OF CASH COLLATERAL,
    (II) GRANTING ADEQUATE PROTECTION TO THE PREPETITION SECURED
              PARTIES AND (III) MODIFYING THE AUTOMATIC STAY


                Upon the motion (the “Motion”), dated November 1, 2017, of the above-

 referenced debtors, as debtors in possession (collectively, the “Debtors”) in the above-captioned

 cases (collectively, the “Cases”), seeking entry of an interim order and a final order pursuant to

 sections 105, 361, 362, 363 and 507 of title 11 of the United States Code (the “Bankruptcy

 Code”) and Rules 2002, 4001 and 9014 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), providing for, among other things:

          (a)   authorization for the Debtors, pursuant to Bankruptcy Code sections 105, 361,
                362, 363 and 507 to (i) use cash collateral, as such term is defined in section
                363(a) of the Bankruptcy Code (“Cash Collateral”), and all other Prepetition
                Collateral (as defined herein), solely in accordance with the terms of the Interim
                Order (as defined below) and this order (this “Final Order,” and together with the
                Interim Order, the “Cash Collateral Orders”), and (ii) provide adequate protection
                to the Secured Noteholders and other Prepetition Secured Parties (each as defined
                below) on the terms set forth herein;

          (b)   authorization to grant adequate protection liens on the proceeds and property
                recovered in respect of the Debtors’ claims and causes of action (but not on the
                actual claims and causes of action) arising under Bankruptcy Code sections 544,
                545, 547, 548 and 550 or any other similar state or federal law (collectively, the
                “Avoidance Actions”);
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        (c)     modification of the automatic stay imposed by section 362 of the Bankruptcy
                Code to the extent necessary to implement and effectuate the terms and provisions
                of the Cash Collateral Orders;

        (d)     except to the extent of the Carve Out (as defined herein), the waiver of all rights
                to surcharge any Prepetition Collateral or Collateral (as defined herein) under
                sections 506(c) or 552(b) of the Bankruptcy Code or any other applicable
                principle of equity or law;

        (e)     the waiver of any applicable stay with respect to the effectiveness and
                enforceability of the Cash Collateral Orders (including a waiver pursuant to
                Bankruptcy Rule 6004(h)); and

        (f)     granting related relief;

 and following the interim hearing on the Motion held on November 2, 2017 (the “Interim

 Hearing”), the Court entered an interim order (the “Interim Order”) approving the Motion on an

 interim basis; and the Court having held a final hearing on the Motion on November 30, 2017

 (the “Final Hearing”); and due and sufficient notice of the Motion and the relief sought at the

 Final Hearing having been given pursuant to Bankruptcy Rules 2002, 4001 and 9014 by the

 Debtors to counsel to the Secured Notes Trustee (as defined below), counsel to the Ad Hoc

 Group (as defined below), other known lien creditors, the Debtors’ fifty (50) largest unsecured

 creditors (on a consolidated basis), the United States Trustee for the Eastern District of Missouri

 (the “United States Trustee”), the United States Securities and Exchange Commission, the

 United States Internal Revenue Service, and all parties that have requested or are required to

 receive notice pursuant to Bankruptcy Rule 2002; and the Court having considered the Motion,

 the Declaration of Alan Boyko of Armstrong Energy, Inc., in Support of Chapter 11 Petitions and

 First Day Motions [ECF No. 5], the offers of proof and evidence adduced, and the statements of

 counsel made at the Interim and Final Hearing; and it appearing to the Court that granting the

 relief sought in the Motion on a final basis on the terms and conditions herein contained is

 necessary and essential to enable the Debtors to preserve the going concern value of the Debtors’


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 businesses and assets and that such relief is fair and reasonable and that entry of this Final Order

 is in the best interest of the Debtors and their respective estates and creditors; and all objections,

 if any, to the relief requested in the Motion having been withdrawn, resolved, or overruled by the

 Court; and after due deliberation and good cause having been shown to grant the relief sought in

 the Motion,

                IT IS HEREBY FOUND AND DETERMINED THAT:

                A.      Petition Date. On November 1, 2017 (the “Petition Date”), Armstrong

 Energy, Inc. (“Armstrong”) and each of the other Debtors filed voluntary petitions for relief

 under chapter 11 of the Bankruptcy Code with the United States Bankruptcy Court for the

 Eastern District of Missouri (the “Court”). Each Debtor has continued with the management and

 operation of its respective businesses and properties as a debtor in possession pursuant to

 sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in

 the Cases. On November 8, 2017, pursuant to 11 U.S.C. § 1102(a) the United States Trustee

 appointed the official committee of unsecured creditors (the “UCC”).

                B.      Restructuring Transaction.        Prior to the Petition Date, the Debtors

 entered into: (a) that certain restructuring support agreement, dated October 5, 2017, by and

 among the Debtors, the Ad Hoc Group, Knight Hawk Holdings, LLC (“Knight Hawk”), Rhino

 Resource Partners Holdings LLC, and Thoroughbred Resources, L.P. (the “RSA”), which

 contemplates, among other things, that the Debtors will pursue a sale of substantially of all their

 assets (the “Sale”) through a chapter 11 plan (the “Proposed Plan”); and (b) that certain

 Transaction Agreement (the “Transaction Agreement”), dated November 1, 2017, by and among

 the Debtors, Knight Hawk, and the Supporting Holders (as defined therein), pursuant to which

 the parties thereto have agreed to effectuate the Sale on the terms described therein. Such

 transactions and documents, including any related or ancillary transactions or documents, are

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 collectively referred to herein as the “Restructuring Documents” or the “Restructuring

 Transactions”, as applicable.

                C.      Debtors’ Stipulations. Without prejudice to the rights, if any, of any

 other party (but subject to the limitations thereon described in paragraphs 17 and 18 hereof), the

 Debtors admit, stipulate and agree that:

               i.       Pursuant to that certain indenture, dated as of December 21, 2012 (as

                        supplemented and in effect from time to time, the “Secured Notes

                        Indenture”), by and among Armstrong, the guarantors party thereto (the

                        “Guarantors”) and Wells Fargo Bank, National Association as Trustee and

                        Collateral Agent (the “Secured Notes Trustee”), Armstrong (the “Issuer”)

                        issued in aggregate principal amount of $200,000,000 of 11.75% Senior

                        Secured Notes due 2019 (the “Secured Notes”, and holders thereof, the

                        “Secured Noteholders”).

              ii.       Pursuant to the Secured Notes Indenture, interest accrues on the Secured

                        Notes at a rate of 11.75% annually and is payable semiannually, on June

                        15 and December 15 of each year.

             iii.       Armstrong failed to make the $11,750,000 interest payment due June 15,

                        2017 (the “June 2017 Interest Payment”) and, as of the Petition Date, has

                        not made such payment.

             iv.        As of the Petition Date, each Debtor, as Issuer or Guarantor, was jointly

                        and severally indebted and liable, without defense, counterclaim, or offset

                        of any kind, to the Secured Noteholders in the amount of (x) $200,000,000

                        in respect of the aggregate principal amount of the Secured Notes, (y)



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                            $11,750,000 in respect of the June 2017 Interest Payment and (z) all

                            interest that has accrued from June 15, 2017 through the Petition Date

                            (such amounts, together with all other outstanding Obligations (as defined

                            in the Secured Notes Indenture), including interest, fees, expenses and

                            other charges, the “Secured Notes Indebtedness”).

               v.           The Secured Notes Indebtedness constitutes a legal, valid and binding

                            obligation of the Debtors, enforceable in accordance with its terms, and no

                            portion of the Secured Notes Indebtedness or any amounts paid to or for

                            the benefit of the Secured Noteholders or applied to the obligations owing

                            under the Secured Notes Indenture or Secured Notes prior to the Petition

                            Date is subject to avoidance, subordination (whether equitable or

                            otherwise), recharacterization, recovery, attack, offset, counterclaim,

                            defense, challenge or Claim (as defined in section 101(5) of the

                            Bankruptcy Code) of any kind pursuant to the Bankruptcy Code or

                            applicable non-bankruptcy law.

                 D.         Debtors’ Admissions With Respect to Prepetition Collateral and

 Liens. Without prejudice to the rights, if any, of any other party in interest (but subject to the

 limitations thereon described herein in paragraphs 17 and 18), the Debtors admit, stipulate and

 agree that:

                    i.      Pursuant to (a) that certain Security Agreement (as amended and in effect,

                            the “Security Agreement”), dated as of December 21, 2012, by the Issuer

                            and the Guarantors and the Secured Notes Trustee, (b) that certain Pledge

                            Agreement (as amended and in effect, the “Pledge Agreement”), dated as



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                     of December 21, 2012 by the Issuer and the Guarantors (as such terms are

                     defined in the Pledge Agreement) and the Secured Notes Trustee and

                     (c) certain mortgages, deeds of trust or other security documents entered

                     into by the Issuer and any Guarantor and the Secured Notes Trustee in

                     respect of the assets and properties owned by such Issuer or Guarantor

                     (each as heretofore amended, restated or otherwise modified from time to

                     time, and, collectively with any and all other agreements, instruments,

                     certificates,   fixture   filings,   transmitting   utility   filings,   financing

                     statements, consents, assignments or other similar documents, and

                     together with the Security Agreement and the Pledge Agreement, the

                     “Secured Notes Collateral Documents” and, together with the Secured

                     Notes Indenture and the Secured Notes, the “Secured Notes Documents”),

                     they have granted valid, binding, perfected and enforceable liens upon and

                     security interests in the real and personal property of the Issuer and

                     Guarantors described in the Secured Notes Collateral Documents, which

                     constitutes all or substantially all of the Issuer’s and Guarantors’ assets

                     (subject to certain express exclusions set in the Secured Notes Collateral

                     Documents) (collectively, the “Prepetition Collateral”) to the Secured

                     Notes Trustee for the benefit of the Secured Noteholders to secure the

                     Secured Notes Indebtedness (the Secured Notes Trustee, together with the

                     Secured Noteholders, the “Prepetition Secured Parties”).

            ii.      The Secured Notes Trustee’s liens upon and security interests in the

                     Prepetition Collateral, for the ratable benefit of the Senior Secured



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                        Noteholders are first-priority liens, subject only to certain Senior

                        Permitted Liens as described herein, and are not subject to avoidance,

                        subordination (whether equitable or otherwise), recharacterization,

                        recovery, attack, offset, counterclaim, defense, challenge or Claim (as

                        defined in section 101(5) of the Bankruptcy Code) of any kind pursuant to

                        the Bankruptcy Code or applicable non-bankruptcy law.

                E.      Debtors’ Admissions With Respect to Cash Collateral.                   Without

 prejudice to the rights, if any, of any other party in interest (but subject to the limitations thereon

 described herein in paragraphs 17 and 18), the Debtors admit, stipulate and agree that:

                i.      For purposes of this Final Order, the term “Cash Collateral” shall mean

                        and include all “cash collateral” as defined in Bankruptcy Code section

                        363 now existing or hereinafter arising in which the Prepetition Secured

                        Parties have a perfected lien, security interest or other interest, in each

                        case whether existing on the Petition Date or arising pursuant to this Final

                        Order or otherwise. The Debtors stipulate that, other than any cash or

                        cash equivalent assets held in an account that has a balance of less than

                        $10,000 as of the date hereof of which there are no more than ten (10)

                        such accounts, all of the Debtors’ cash, cash equivalents, negotiable

                        instruments, and securities (but excluding amounts held in any trust,

                        escrow and custodial funds as of the Petition Date in properly established

                        trust, escrow and custodial accounts), and any amounts generated from the

                        use, sale, lease or other disposition of the Prepetition Collateral, in each

                        case wherever located, constitutes Cash Collateral and Prepetition



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                        Collateral.   The Prepetition Secured Parties are entitled, pursuant to

                        sections 105, 361, 362 and 363(e) of the Bankruptcy Code, to adequate

                        protection of their interest in the Prepetition Collateral, including the Cash

                        Collateral, for any Collateral Diminution (as defined herein).

                F.      Releases; Investigation. Without prejudice to the rights of any other party

 (but subject to the limitations thereon described herein in paragraphs 17 and 18), each Debtor

 hereby forever waives and releases any and all Claims (as defined in section 101(5) of the

 Bankruptcy Code), counterclaims, lawsuits, rights to payment, causes of action, defenses or

 setoff rights against each of the Prepetition Secured Parties, in each case, arising under or related

 in any way to the Secured Notes Documents, whether arising at law or in equity, including,

 without limitation, any recharacterization, subordination, avoidance or other claim arising under

 or pursuant to section 105 or Chapter 5 of the Bankruptcy Code or under any other similar

 provisions of applicable state or federal law. The admissions, stipulations, agreements and

 releases set forth in paragraphs C, D, E and F of this Final Order are based upon and consistent

 with the Debtors’ investigation of the Prepetition Secured Parties’ liens and claims and

 independent determination that the Debtors have no Claims (as defined in section 101(5) of the

 Bankruptcy Code), defenses or counterclaims with respect thereto.

                G.      Need to Use Cash Collateral. The Debtors have requested entry of this

 Final Order pursuant to Bankruptcy Rule 4001(b)(2) and have an ongoing need to continue the

 use of the Prepetition Collateral, including the Cash Collateral (in the amount and manner set

 forth herein and in the Budget (as defined herein)) to, among other things, preserve and maintain

 the going-concern value of their assets and businesses and maximize value for creditors. A

 critical need exists for the Debtors to use Cash Collateral, consistent with the Budget, for



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 working capital and other general corporate purposes of the Debtors, including the payment of

 the costs and expenses of administering the Cases and pursuing the Restructuring Transactions.

 The ability of the Debtors to access liquidity through the use of the Cash Collateral is vital to the

 Debtors and their efforts to maximize the going-concern value of their assets. Absent entry of

 this Final Order, the Debtors’ estates and efforts to maximize the going-concern value of their

 assets will be immediately and irreparably harmed.

                H.        Notice. Notice of the requested relief sought at the Final Hearing was

 provided by the Debtors to: (1) the United States Trustee; (2) the holders of the 50 largest

 unsecured claims against the Debtors (on a consolidated basis); (3) other known lien

 creditors; (4) counsel to the Secured Notes Trustee; (5) counsel to the Ad Hoc Group; (6) the

 United States Attorney’s Office for the Eastern District of Missouri; (7) the Internal Revenue

 Service; (8) the United States Securities and Exchange Commission; (9) the Environmental

 Protection Agency and similar state environmental agencies for states in which the Debtors

 conduct business; (10) the state attorneys general for states in which the Debtors conduct

 business; and (11) any party that has requested notice pursuant to Bankruptcy Rule 2002. Given

 the nature of the relief sought, the foregoing notice of the Final Hearing complies with

 Bankruptcy Rules 2002, 4001(b) and (d) and 9014, all applicable local rules, and section 102(1)

 of the Bankruptcy Code as required by sections 361 and 363 of the Bankruptcy Code. No further

 notice of, or hearing on, the relief sought at the Final Hearing and the relief granted herein is

 necessary or required.

                I.        Ad Hoc Group of Senior Secured Noteholders. Certain holders of

 Secured Notes holding more than a majority of the aggregate principal amount of Secured Notes




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 have formed an ad hoc group (the “Ad Hoc Group”) that has the power to direct the Secured

 Notes Trustee pursuant to and subject to the terms of the Secured Notes Indenture.1

                  J.       Consent by Prepetition Secured Parties.                     The Prepetition Secured

 Parties have indicated their consent to the Debtors’ use of Cash Collateral, in accordance with

 and subject to the terms and conditions provided for in this Final Order.

                  K.       Jurisdiction and Venue.               Consideration of the Motion constitutes a

 “core-proceeding” as defined in 28 U.S.C. § 157(b)(2). This Court has jurisdiction over this

 proceeding and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.

 Venue for the Cases and the proceedings on the Motion is proper in this district pursuant to 28

 U.S.C. §§ 1408 and 1409.

                  L.       Relief Essential; Best Interest. The relief requested in the Motion (and

 as provided in this Final Order) is necessary, essential and appropriate for the continued

 operation of the Debtors’ businesses and the management and preservation of the going-concern

 value of the Debtors’ assets and the property of their estates. It is in the best interest of the

 Debtors’ estates that the Debtors be allowed to use the Cash Collateral under the terms hereof.

 The Debtors have demonstrated good and sufficient cause for the relief granted herein.

                  M.       Arm’s-Length, Good-Faith Negotiations. The terms of this Final Order

 were negotiated in good-faith and at arm’s-length between the Debtors and the Prepetition

 Secured Parties.

                  N.       Adequate Protection.             Good cause was shown that the Prepetition

 Secured Parties are entitled to adequate protection pursuant to sections 361, 362, and 363 of the


 1
     For the avoidance of doubt, nothing in this Final Order is intended to limit the respective rights and obligations
     of the Secured Noteholders and the Secured Notes Trustee, as among themselves, under the Secured Notes
     Indenture.


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 Bankruptcy Code. Based on the Motion and on the record presented to the Court, the terms of

 the proposed adequate protection arrangements for the use of the Prepetition Collateral

 (including the Cash Collateral) are fair and reasonable and reflect the Debtors’ prudent exercise

 of business judgment. The Prepetition Secured Parties reserve the right to seek additional

 adequate protection beyond the adequate protection provided in this Final Order.

                O.       Sections 506(c) and 552(b). In light of the agreement by the Prepetition

 Secured Parties to allow the Debtors to, among other things, use Cash Collateral on the terms set

 forth herein, each of the Prepetition Secured Parties is entitled to the benefits of a waiver of the

 provisions of section 506(c) of the Bankruptcy Code and any “equities of the case” claims under

 section 552(b) of the Bankruptcy Code.

                NOW, THEREFORE, UPON THE RECORD OF THE PROCEEDINGS

 HERETOFORE HELD BEFORE THIS COURT WITH RESPECT TO THE MOTION,

 THE EVIDENCE ADDUCED AT THE FINAL HEARING, AND THE STATEMENTS

 OF COUNSEL THERE AT, IT IS HEREBY ORDERED THAT:

                 1.      Motion Granted. The Motion is granted on a final basis in accordance

 with the terms of this Final Order. Any objections to the Motion with respect to the entry of this

 Final Order that have not been withdrawn, waived or settled and all reservations of rights

 included therein, are hereby denied and overruled.

                2.       Authorization to Use Cash Collateral. Subject to the terms and

 conditions of this Final Order, the Debtors are authorized to use Cash Collateral now existing or

 hereafter generated during the period beginning with the Petition Date and ending on the

 Termination Date (as defined herein), solely in the amounts and for the disbursements set forth in

 the 13-week cash disbursements and receipts budget attached to the Interim Order (the “Initial



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 Budget,” and as modified by the Budget attached hereto as Exhibit A and as the same may

 hereafter be modified or extended from time to time by the Debtors as set forth in this paragraph

 and in paragraph 3(e)(v) of this Final Order, the “Budget”), subject to Permitted Deviations and

 any Non-Conforming Use (as each such term is defined below) permitted hereunder. For any

 four-week period set forth in the Budget commencing the first full week following the Petition

 Date, the total net receipts shall not be less than 85% of the budgeted amount and the operating

 disbursements shall not exceed 115% (provided that Allowed Professional Fees and payments to

 the U.S. Trustee shall not be subject to such operating disbursement test) of the budgeted amount

 on an individual line item basis and on an aggregate basis (each, a “Permitted Deviation”);

 provided that any unused amount for any line item in the Budget during any four-week budget

 period may be carried forward into the next four-week budget period with respect to the same

 line item. The Secured Notes Trustee, acting at the direction of the Ad Hoc Group, may, in

 accordance with the terms of such direction, agree in writing to the use of the Cash Collateral in

 a manner or amount which does not conform to the manner or amount, as applicable, set forth in

 the Budget (including, for the avoidance of doubt, after giving effect to the Permitted Deviation)

 (each such approved non-conforming use of Cash Collateral, a “Non-Conforming Use”). If such

 written consent is given (which consent may be given through email by the Secured Notes

 Trustee’s counsel), the Debtors shall be authorized pursuant to this Final Order, or were

 authorized under the Interim Order, to use Cash Collateral for any such Non-Conforming Use

 without further Court approval, and the Prepetition Secured Parties shall be entitled to all of the

 protections specified in this Final Order for any such Non-Conforming Use; provided that each

 such permitted Non-Conforming Use shall be deemed a modification to the Budget for all testing




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 purposes. The Debtors shall provide notice of any material Non-Conforming Use to counsel to

 UCC and the United States Trustee.

               3.      Adequate Protection for the Prepetition Secured Parties. As adequate

 protection for, and to secure payment of an amount equal to the Collateral Diminution, and as an

 inducement to the Prepetition Secured Parties to permit the Debtors’ use of the Cash Collateral

 and other Prepetition Collateral as provided for in this Final Order or the Interim Order, as

 applicable, the Debtors hereby grant the following:

                       (a)     Adequate Protection Liens. Effective as of the Petition Date and
                               in each case perfected without the necessity of the execution by the
                               Debtors (or recordation or other filing) of security agreements,
                               control agreements, pledge agreements, financing statements,
                               mortgages or other similar documents, or by possession or control,
                               the following security interests and liens (all such liens and
                               security interests, the “Adequate Protection Liens”) are hereby
                               granted to the Secured Notes Trustee, for the benefit of the Secured
                               Noteholders, (all property identified in clauses (i) and (ii) of this
                               paragraph 3(a) being collectively referred to as the “Collateral”),
                               subject only to the Carve Out (as defined herein) and Senior
                               Permitted Liens as provided below:

                              i.        Liens Senior to Other Liens.             A valid, binding,
                                        continuing, enforceable, fully-perfected first priority senior
                                        priming security interest in and lien on the Prepetition
                                        Collateral and all of the Debtors’ now owned and hereafter-
                                        acquired real and personal property, assets and rights of any
                                        kind or nature, wherever located, including, without
                                        limitation, all prepetition and postpetition property of the
                                        Debtors’ estates, and the proceeds, products, rents and
                                        profits thereof, whether arising from section 552(b) of the
                                        Bankruptcy Code or otherwise, including, without
                                        limitation, coal properties and leases (and as-extracted
                                        collateral, goods and fixtures relating thereto), mining and
                                        related permits (to the extent the Debtors can grant liens on
                                        such permits), the economic value of any permit or similar
                                        right that cannot be subject to a lien under applicable law,
                                        accounts receivable, other rights to payment, cash,
                                        inventory, general intangibles, contracts, servicing rights,
                                        servicing receivables, securities, chattel paper, owned real
                                        estate, real property leaseholds, fixtures, machinery,
                                        equipment, deposit accounts, patents, copyrights,

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                                     trademarks, trade names, rights under license agreements
                                     and other intellectual property, claims and causes of action
                                     (including those arising under section 549 of the
                                     Bankruptcy Code) and all proceeds of the foregoing, other
                                     than Avoidance Actions, which Adequate Protection Liens
                                     shall have recourse to the proceeds or property recovered in
                                     respect of any Avoidance Actions, subject only to valid,
                                     perfected and enforceable prepetition liens (if any) which
                                     are senior to, or pari passu with, the Prepetition Secured
                                     Parties’ liens or security interests as of the Petition Date or
                                     to valid and unavoidable liens in existence immediately
                                     prior to the Petition Date that are perfected subsequent to
                                     the Petition Date as permitted by section 546(b) of the
                                     Bankruptcy Code (each, a “Senior Permitted Lien”);
                                     provided that the foregoing collateral shall not include
                                     assets or property (other than Prepetition Collateral,
                                     including Cash Collateral) upon which, and solely to the
                                     extent that, the grant of an Adequate Protection Lien as
                                     contemplated in this Final Order, would constitute a default
                                     or event of default thereunder (and such default would not
                                     be excused by operation of the Bankruptcy Code), but shall
                                     include the proceeds thereof.

                          ii.        Liens Junior to Existing Liens. A valid, binding,
                                     continuing, enforceable, fully-perfected junior lien on and
                                     security interest in all prepetition and postpetition property
                                     of the Debtors (other than the property described in clause
                                     (i) of this paragraph 3(a)), whether now existing or
                                     hereafter acquired, that is subject to a Senior Permitted
                                     Lien; provided that the foregoing collateral shall not
                                     include assets or property (other than Prepetition Collateral,
                                     including Cash Collateral) upon which, and solely to the
                                     extent that, the grant of an Adequate Protection Lien as
                                     contemplated in this Final Order, would constitute a default
                                     or event of default thereunder (and such default would not
                                     be excused by operation of the Bankruptcy Code), but shall
                                     include the proceeds thereof.

                   (b)      Adequate Protection Claims. An allowed administrative claim
                            (the “Adequate Protection Claims”) against each of the Debtors on
                            a joint and several basis with priority over any and all other
                            administrative claims against the Debtors now existing or hereafter
                            arising in the Cases (subject only to the Carve Out (as defined
                            herein) and the super priority Claims for Expense Reimbursement
                            (as defined and approved in connection with the Expense
                            Reimbursement Motion [Docket No. 43]), including all claims of
                            the kind specified under sections 503(b) and 507(b) of the

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                          Bankruptcy Code, which administrative claim shall have recourse
                          to and be payable from all prepetition and postpetition property of
                          the Debtors including, without limitation, the proceeds or property
                          recovered in respect of any Avoidance Actions (“Avoidance
                          Action Proceeds”); provided that with respect to Avoidance Action
                          Proceeds, the Secured Notes Trustee shall use commercially
                          reasonable efforts to satisfy the Adequate Protection Claims from
                          any available cash proceeds of Prepetition Collateral or Collateral
                          (other than Avoidance Action Proceeds) before seeking recourse to
                          Avoidance Action Proceeds to the extent reasonably practicable.

                   (c)    Other Covenants. The Debtors shall maintain their cash
                          management arrangements in a manner consistent with the order(s)
                          granting the Debtors’ Motion for Entry of Interim and Final
                          Orders (I) Authorizing the Debtors to (A) Continue to Operate
                          Their Cash Management System, (B) Honor Certain Prepetition
                          Obligations Related Thereto, (C) Maintain Existing Business
                          Forms, and (D) Continue to Perform Intercompany Transactions,
                          and (II) Granting Related Relief, entered or to be entered
                          substantially contemporaneously herewith. The Debtors shall not
                          use, sell, lease or otherwise dispose of any material assets outside
                          the ordinary course of business, or seek authority of this Court to
                          do any of the foregoing, without prior written consent of the
                          Secured Notes Trustee, acting at the direction of the Ad Hoc
                          Group. The Debtors shall comply with the covenants contained in
                          Sections 4.03 and 4.04 of the Secured Notes Indenture regarding
                          the maintenance and insurance of the Prepetition Collateral and the
                          Collateral. The Debtors shall, on a reasonable basis, provide the
                          Ad Hoc Group, the Secured Notes Trustee, and all potential
                          strategic partners or purchasers identified by any Prepetition
                          Secured Party access to all information and materials relating to
                          the Debtors’ businesses, financial condition and projections and
                          the Chapter 11 Cases, including reasonable access to the Debtors’
                          management and properties; provided that the Debtors may
                          condition such access upon execution by such party of a reasonable
                          non-disclosure agreement that the Debtors will complete with such
                          party as expediently as reasonably practicable. The Debtors shall
                          continue to actively engage the chief restructuring officer provided
                          by FTI Consulting, Inc. (the “CRO”) in their business and
                          operations and otherwise ensure that the CRO is properly utilized,
                          including requesting that the CRO perform some or all of the
                          services described in the CRO’s engagement letter, which
                          engagement letter shall only be modified with written consent of
                          the Ad Hoc Group.

                   (d)    Fees and Expenses. As additional adequate protection, the
                          Debtors shall pay in cash: (i) to the extent not paid pursuant to the

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                          terms of the Interim Order, the reasonable professional fees,
                          expenses and disbursements (including, but not limited to, the fees,
                          expenses and disbursements of counsel and third-party consultants,
                          including financial consultants and auditors) incurred by the Ad
                          Hoc Group arising prior to the Petition Date, which shall include
                          the reasonable professional fees, expenses, and disbursements
                          incurred by the Ad Hoc Group (but not Knight Hawk) in
                          connection with the Restructuring Transactions and the
                          Restructuring Documents (“Transaction Costs”) by the Ad Hoc
                          Group; (ii) the reasonable professional fees, expenses and
                          disbursements (including, but not limited to, the fees, expenses and
                          disbursements of counsel and third-party consultants, including
                          financial consultants and auditors) incurred by the Ad Hoc Group
                          arising subsequent to the Petition Date, including Transaction
                          Costs; (iii) to the extent not paid pursuant to the terms of the
                          Interim Order, the reasonable fees, expenses and disbursements of
                          the Secured Notes Trustee and legal counsel to the Secured Notes
                          Trustee incurred prior to the Petition Date, including Transaction
                          Costs; and (iv) the reasonable fees, expenses and disbursements of
                          the Secured Notes Trustee and legal counsel to the Secured Notes
                          Trustee incurred subsequent to the Petition Date, including
                          Transaction Costs. The payment of the fees, expenses and
                          disbursements set forth in this paragraph 3(d) of this Final Order
                          (including professional fees and expenses of Paul, Weiss, Rifkind,
                          Wharton & Garrison LLP, Houlihan Lokey, Inc., one local
                          bankruptcy counsel to the Ad Hoc Group, one local Kentucky
                          and/or regulatory counsel to the Ad Hoc Group, the Secured Notes
                          Trustee and legal counsel to the Secured Notes Trustee) shall be
                          made within ten (10) business days after the receipt by the Debtors
                          and the United States Trustee of invoices thereof (subject in all
                          respects to applicable privilege or work product doctrines) and
                          without the necessity of filing formal fee applications, including
                          such amounts arising before and after the Petition Date.
                          Notwithstanding the foregoing, payments made pursuant to this
                          paragraph 3(d) shall be without prejudice, and with a full
                          reservation of rights, to the UCC’s ability in connection with a
                          Challenge (as defined below) to seek to have such payments
                          recharacterized or reallocated pursuant to section 506(c) of the
                          Bankruptcy Code as payments of principal on account of the
                          Senior Notes Indebtedness.

                   (e)    Reporting. As additional adequate protection to the Prepetition
                          Secured Parties, the Debtors shall provide the following reporting
                          to the Secured Notes Trustee and Ad Hoc Group, as applicable,
                          with copies to counsel to the UCC and Knight Hawk:



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                           i.        Weekly (or less frequently as may be agreed to by and
                                     among the Debtors, the Ad Hoc Group and the Secured
                                     Notes Trustee) calls with the Ad Hoc Group, the Secured
                                     Notes Trustee, the UCC, and their respective advisors;

                          ii.        A copy of each update to the Debtors’ business plan as
                                     soon as reasonably practicable after it becomes available,
                                     together with a reconciliation to the prior business plan;

                      iii.           Presentations by the Debtors and/or their advisors during
                                     normal business hours to the Secured Notes Trustee, the Ad
                                     Hoc Group, the UCC, and/or their respective advisors at
                                     times and places as the Secured Notes Trustee, Ad Hoc
                                     Group, and counsel to the UCC, as applicable, may
                                     reasonably request in writing (including via electronic
                                     mail) with reasonable prior notice;

                      iv.            Promptly, but in any event no later than the twentieth
                                     (20th) day of each calendar month, a report as of the last
                                     day of the preceding calendar month, in form and detail
                                     reasonably acceptable to the Secured Notes Trustee and Ad
                                     Hoc Group, of (a) the Debtors’ accounts payable and
                                     disbursements for such month, (b) an accounts payable and
                                     an accounts receivable aging report, and (c) all written
                                     demands or claims made, related to, or asserting any liens
                                     in respect of property or assets of the Debtors (including
                                     liens imposed by law, such as landlord’s, vendors’,
                                     suppliers’,    carriers’,    warehousmen’s,    repairmen’s,
                                     construction contractors’, workers’ and mechanics’ liens
                                     and other similar liens) if the amount demanded or claimed
                                     exceeds $50,000 individually or $200,000 in the aggregate;
                                     provided that provisions (a) and (b) hereof may be satisfied
                                     by filing the Debtors’ monthly operating report containing
                                     such information and serving such report on counsel for the
                                     Secured Notes Trustee, counsel for the Ad Hoc Group,
                                     counsel for the UCC and counsel for Knight Hawk;

                          v.         (A) On or before the last Friday of each calendar month, an
                                     updated rolling 13-week cash flow forecast of the Debtors
                                     and their subsidiaries substantially in the form of the Initial
                                     Budget (each, a “Proposed Budget”), which Proposed
                                     Budget shall become the Budget effective as of the fifth
                                     business day of the next calendar month if the Secured
                                     Notes Trustee, acting at the direction of the Ad Hoc Group
                                     does not object (whether written or not) prior to such
                                     Proposed Budget becoming effective; and (B) on or before
                                     each Wednesday of each calendar week, (1) a weekly

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                                     report of receipts, disbursements and a reconciliation of
                                     actual expenditures and disbursements with those set forth
                                     in the Budget for the prior week (and on a cumulative four-
                                     week basis), which report and reconciliation shall be in
                                     form and detail reasonably satisfactory to the Ad Hoc
                                     Group and the Secured Notes Trustee (the “Budget
                                     Reconciliation”) and (2) a statement setting forth in
                                     reasonable detail the cash balance for each deposit account
                                     of the Debtor and its subsidiaries as of the previous Friday;

                         vi.         Promptly, and in any event no later than the thirtieth (30th)
                                     day following the end of each month, beginning with the
                                     month ended November 30, 2017, a monthly and year-to-
                                     date income statement, balance sheet and monthly and
                                     year-to-date detail of capital expenditures;

                         vii.        Such other reports and information as the Secured Notes
                                     Trustee, the Ad Hoc Group, or the UCC may reasonably
                                     request.

                   (f)      Asset Sales; Application of Proceeds. Except as contemplated by
                            the Restructuring Documents, unless otherwise agreed to by the
                            Secured Notes Trustee, acting at the direction or with the consent
                            of the Ad Hoc Group, in writing (which may be via email), all non-
                            ordinary course sales and other dispositions (including casualty
                            and condemnation events) of Collateral (“Collateral Sales”) shall
                            be in exchange for 100% cash consideration.               Except as
                            contemplated by the Restructuring Documents, any proposed
                            property exchange with respect to Collateral that is not in exchange
                            for 100% cash consideration shall be subject to the prior written
                            consent of the Secured Notes Trustee, acting at the direction or
                            with the consent of the Ad Hoc Group, which consent shall not be
                            unreasonably withheld; all proceeds from Collateral Sales, as well
                            as extraordinary receipts of any kind, shall be applied in
                            accordance with the Secured Notes Documents unless otherwise
                            agreed by the Secured Notes Trustee, acting at the direction or with
                            the consent of the Ad Hoc Group, in writing (which may be via
                            email).

                   (g)      Case Milestones. Unless otherwise extended under the RSA with
                            the consent of the Ad Hoc Group, the Debtors shall ensure
                            compliance with the following case milestones:

                            1. By no later than thirty one (31) days following the Petition
                               Date, the Court shall have entered an order in form and
                               substance acceptable to the Ad Hoc Group, the Secured Notes
                               Trustee, and Knight Hawk approving the expense

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                                   reimbursement set forth in the Expense Reimbursement Motion
                                   or an expense reimbursement otherwise acceptable to the Ad
                                   Hoc Group, the Secured Notes Trustee, and Knight Hawk.

                               2. By no later than sixty (60) days following the Petition Date, the
                                  Court shall have entered an order reasonably acceptable to the
                                  Ad Hoc Group and Secured Notes Trustee approving the
                                  disclosure statement and plan solicitation procedures with
                                  respect to the Proposed Plan, each of which must be reasonably
                                  acceptable to the Ad Hoc Group and Secured Notes Trustee.

                               3. By no later than seventy five (75) days following the Petition
                                  Date, the Debtors shall share with the advisors to the Ad Hoc
                                  Group a draft budget for winding down the Debtors’ operations
                                  and the Chapter 11 Cases after confirmation of the Plan, which
                                  includes an anticipated funding need in an amount acceptable
                                  to the Ad Hoc Group.

                               4. By no later than one hundred (100) days following the Petition
                                  Date, the Court shall enter an order reasonably acceptable to
                                  the Ad Hoc Group, the Secured Notes Trustee, and Knight
                                  Hawk confirming the Proposed Plan and approving the Sale
                                  and the other related transactions provided for therein
                                  (the “Confirmation and Sale Order”).

                               5. By no later than fifteen (15) days following entry of the
                                  Confirmation and Sale Order, the effective date of the Plan
                                  shall occur and the Sale shall be consummated.

                4.      Collateral Diminution. For purposes of this Final Order, “Collateral

 Diminution” shall mean an amount equal to the diminution of the value of the Prepetition

 Secured Parties’ interest in the Prepetition Collateral from and after the Petition Date resulting

 from the sale, lease, or use by the Debtors of the Prepetition Collateral, including Cash

 Collateral, or as a result of the imposition of the automatic stay pursuant to section 362 of the

 Bankruptcy Code.

                5.      Priority of Adequate Protection Liens and Adequate Protection

 Claims.    The Adequate Protection Liens and Adequate Protection Claims granted to the

 Prepetition Secured Parties pursuant to paragraphs 3 and 4 of this Final Order shall not be subject


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 or junior to any lien or security interest that is avoided and preserved for the benefit of the

 Debtors’ estates under section 551 of the Bankruptcy Code and shall not be subordinated to or

 made pari passu with any lien, security interest or administrative claim under section 364 of the

 Bankruptcy Code or otherwise (other than the Carve Out and Claims for Expense

 Reimbursement); provided that the Debtors shall not create, incur or suffer to exist any

 postpetition liens or security interests other than: (i) those granted pursuant to this Final Order;

 (ii) carriers’, mechanics’, operator’s, warehousemen’s, repairmen’s or other similar statutory

 liens arising in the ordinary course of business; (iii) pledges and deposits in connection with

 workers’ compensation, unemployment insurance and other social security legislation; (iv)

 deposits to secure the payment of any postpetition statutory obligations and performance bonds

 and (v) Senior Permitted Liens; provided that such liens and deposits are in accordance with the

 Budget.

                6.      Carve Out.

                        (a)    As used in this Final Order, the “Carve Out” means the sum of
                               (i) all fees required to be paid to the Clerk of the Court and to the
                               Office of the United States Trustee under section 1930(a) of title
                               28 of the United States Code plus interest at the statutory rate
                               (without regard to the notice set forth in (iii) below); (ii) all
                               reasonable fees and expenses up to $50,000 incurred by a trustee
                               under section 726(b) of the Bankruptcy Code (without regard to
                               the notice set forth in (iii) below); (iii) to the extent allowed at any
                               time, whether by interim order, procedural order, or otherwise, but
                               subject to paragraph 18, all unpaid fees and expenses (the
                               “Allowed Professional Fees”) incurred by persons or firms retained
                               by the Debtors pursuant to section 327, 328, or 363 of the
                               Bankruptcy Code (the “Debtor Professionals”) and any Committee
                               appointed in the Cases (the “Committee Professionals” and,
                               together with the Debtor Professionals, the “Professional Persons”)
                               at any time before or on the first business day following delivery
                               by the Secured Notes Trustee of a Carve Out Trigger Notice (as
                               defined below), whether allowed by the Court prior to or after
                               delivery of a Carve Out Trigger Notice; and (iv) Allowed
                               Professional Fees of Professional Persons in an aggregate amount


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                          not to exceed $1,250,000 incurred after the first business day
                          following delivery by the Secured Notes Trustee of the Carve Out
                          Trigger Notice, plus an amount, solely for the benefit of MAEVA
                          Group, LLC, equal to the Completion Fee (as defined in that
                          certain Advisory Agreement between MAEVA Group, LLC and
                          Armstrong Energy, Inc. and its subsidiaries dated as of May 3,
                          2016 (as amended by the First Amendment to the Advisory
                          Agreement dated as of October 31, 2017)) to the extent allowed at
                          any time, whether by interim order, procedural order, or otherwise
                          (the amounts set forth in this clause (iv) being the “Post-Carve Out
                          Trigger Notice Cap”). For purposes of the foregoing, “Carve Out
                          Trigger Notice” shall mean a written notice delivered by email (or
                          other electronic means) by the Secured Notes Trustee to the
                          Debtors, their lead restructuring counsel, counsel to Knight Hawk,
                          the U.S. Trustee, and lead counsel to any statutory committee
                          appointed in the Cases, which notice may be delivered following
                          the occurrence and during the continuation of a Termination Event
                          hereunder, stating that the Post-Carve Out Trigger Notice Cap has
                          been invoked.

                   (b)    Carve Out Reserve Account. The Carve Out amounts for the
                          fees and expenses of the Professional Persons shall be invoiced to
                          the Debtors monthly and promptly deposited into an escrow
                          account established by the Debtors and held in trust to pay
                          Allowed Professional Fees of Professional Persons benefitting
                          from the Carve Out prior to any and all other claims, with such
                          funds being subject to the respective interests of the Prepetition
                          Secured Parties such that any residual amount (the “Residual
                          Amount”) will be paid as provided in the Carve Out Reserve
                          Account Priority (as defined below), but only after payment of all
                          Allowed Professional Fees of Professional Persons benefitting
                          from the Carve Out (the “Carve Out Reserve Account”). Allowed
                          Professional Fees of Professional Persons benefitting from the
                          Carve Out shall be paid from the Carve Out Reserve Account. The
                          “Carve Out Reserve Account Priority” is the following payment
                          priority from the Carve Out Reserve Account to the extent of the
                          Residual Amount: first, to pay the Secured Notes Trustee for
                          application in accordance with the Secured Notes Documents,
                          unless the Secured Notes Indebtedness has been indefeasibly paid
                          in full, in cash, and second, any remaining amount shall be retained
                          by the Debtors’ bankruptcy estates.

                   (c)    On the day on which a Carve Out Trigger Notice is given by the
                          Secured Notes Trustee to the Debtors with a copy to lead counsel
                          to any statutory committee appointed in the Cases (the
                          “Termination Declaration Date”), the Debtors shall utilize all cash
                          on hand as of such date and any available cash thereafter held by

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                             any Debtor to fund the Carve Out Reserve Account in amount
                             equal to the accrued and then unpaid Allowed Professional Fees
                             that have not yet been deposited in the Carve Out Reserve Account
                             plus the Post-Carve Out Trigger Notice Cap provided that the
                             Debtors may use Cash Collateral in accordance with the Budget
                             during the Default Notice Period.

                      (d)    Notwithstanding anything to the contrary in the Secured Notes
                             Documents or this Final Order, following delivery of a Carve Out
                             Trigger Notice, the Secured Notes Trustee shall not sweep or
                             foreclose on cash (including cash received as a result of the sale or
                             other disposition of any assets) of the Debtors until the Carve Out
                             Reserve Account has been fully funded. Further, notwithstanding
                             anything to the contrary in this Final Order, (i) disbursements by
                             the Debtors from the Carve Out Reserve Account shall not
                             constitute Obligations (as defined in the Secured Notes
                             Documents) or increase or reduce the Secured Notes Indebtedness,
                             (ii) the failure of the Carve Out Reserve Account to satisfy in full
                             the Allowed Professional Fees shall not affect the priority of the
                             Carve Out, and (iii) in no way shall the Budget, Carve Out, Post-
                             Carve Out Trigger Notice Cap, Carve Out Reserve Account, or any
                             of the foregoing be construed as a cap or limitation on the amount
                             of the Allowed Professional Fees due and payable by the
                             Debtors. For the avoidance of doubt and notwithstanding anything
                             to the contrary herein or in the Secured Notes Documents, the
                             Carve Out shall be senior to all liens and claims securing the
                             Secured Notes Indebtedness, the Adequate Protection Liens, and
                             any superpriority administrative claim (including Adequate
                             Protection Claims), and any and all other forms of adequate
                             protection, liens, or claims securing the Senior Notes Indebtedness.

                      (e)    Payment of Allowed Professional Fees Prior to the
                             Termination Declaration Date. Any payment or reimbursement
                             made prior to the occurrence of the Termination Declaration Date
                             in respect of any Allowed Professional Fees shall not reduce the
                             Carve Out.

                      (f)    Payment of Carve Out On or After the Termination
                             Declaration Date. Any payment or reimbursement made on or
                             after the occurrence of the Termination Declaration Date in respect
                             of any Allowed Professional Fees shall permanently reduce the
                             Carve Out on a dollar-for-dollar basis.

              7.      Postpetition Lien Perfection.     Without the necessity of the filing of

 financing statements, security agreements, federal or state notices, pledge agreements,


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 recordings, mortgages or other documents or taking possession or control of any Collateral, this

 Final Order shall be sufficient evidence of the granting and perfection of the Adequate Protection

 Liens. Notwithstanding the foregoing, the Debtors are authorized, empowered and directed to

 (a) execute such documents including, without limitation, mortgages, pledges and Uniform

 Commercial Code financing statements and (b) use Cash Collateral to pay such costs and

 expenses as may be reasonably requested by the Secured Notes Trustee or the Ad Hoc Group to

 provide further evidence of the perfection of the Adequate Protection Liens as provided for

 herein. All such documents shall be deemed to have been recorded and filed as of the Petition

 Date.

                8.      Termination. The Debtors’ right to use the Cash Collateral pursuant to

 this Final Order shall terminate (the date of any such termination, the “Termination Date”)

 without further notice or court proceeding five (5) business days following the delivery of a

 written notice (any such notice, a “Default Notice”) by the Secured Notes Trustee or counsel to

 the Ad Hoc Group to the Debtors, with a copy to Kirkland & Ellis LLP, counsel to Knight Hawk,

 the United States Trustee and lead counsel to the UCC (any such five-business-day period of

 time, the “Default Notice Period”) of the occurrence of a Termination Event set forth below

 unless such occurrence is cured by the Debtors or waived by the Secured Notes Trustee as

 directed by the Ad Hoc Group prior to the expiration of the Default Notice Period with respect

 thereto; provided that, if a hearing to consider relief from the automatic stay, any other

 appropriate relief in connection with delivery of the Default Notice, or continued use of Cash

 Collateral (as may be held on an expedited basis as set forth in this paragraph 8) is requested to

 be heard within such five (5) business day period but is scheduled for a later date by the Court,




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 the Default Notice Period shall be automatically extended to the date of such hearing, but in no

 event by more than two business days:

                       (a)    The failure to comply with any of the Case Milestones set forth in
                              section 3(g) of this Final Order or any similar milestones set forth
                              in the RSA;

                       (b)    Any termination of the RSA that is caused by a breach of the
                              Debtors of their obligations under the RSA;

                       (c)    Any termination of the Transaction Agreement that is caused by a
                              breach of the Debtors of their obligations thereunder;

                       (d)    The dismissal of the Cases or the conversion of the Cases to cases
                              under Chapter 7 of the Bankruptcy Code;

                       (e)    The entry by this Court of an order granting relief from the
                              automatic stay imposed by section 362 of the Bankruptcy Code to
                              any entity other than the Prepetition Secured Parties with respect to
                              the Prepetition Collateral or the Collateral without the written
                              consent of the Secured Notes Trustee, acting at the direction or
                              with the consent of the Ad Hoc Group and the Secured Notes
                              Trustee, which consent may be withheld in their sole discretion;
                              provided that the foregoing shall not apply if all such subject
                              Prepetition Collateral or Collateral to which the stay has been
                              extended has a fair market value under $250,000 in the aggregate;

                       (f)    The appointment or election of a trustee, examiner with expanded
                              powers or any other representative with expanded powers relating
                              to the operation of the businesses in the Cases;

                       (g)    The filing of a plan of reorganization (other than the Proposed
                              Plan) for and by the Debtors that is not supported by the Ad Hoc
                              Group and the Secured Notes Trustee;

                       (h)    The failure by the Debtors to make any payment required pursuant
                              to the Interim Order or this Final Order when due;

                       (i)    The failure by the Debtors to deliver to the Secured Notes Trustee
                              and Ad Hoc Group any of the documents or other information
                              required to be delivered pursuant to this Final Order when due or
                              any such documents or other information shall contain a material
                              misrepresentation;

                       (j)    The loss of the Debtors’ exclusive right to file a plan pursuant to
                              section 1121 of the Bankruptcy Code, regardless of how or when
                              the Debtors lose such right;

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                       (k)     The failure by the Debtors to adhere to the Budget except, in each
                               instance, with respect to Permitted Deviations or Non-Conforming
                               Uses;

                       (l)     The failure by the Debtors to observe or perform any of the
                               material terms or material provisions contained herein;

                       (m)     The Debtors shall create, incur or suffer to exist any postpetition
                               liens or security interests on the Collateral other than those
                               permitted pursuant to paragraph 5 of this Final Order;

                       (n)     The Debtors shall create, incur or suffer any other post-petition
                               claim which is pari passu with or senior to the Adequate
                               Protection Claims, other than the Carve Out;

                       (o)     A filing by any Debtor of any motion, pleading, application or
                               adversary proceeding challenging the validity, enforceability,
                               perfection or priority of the liens securing the Secured Notes or
                               asserting any other cause of action against and/or with respect to
                               the Secured Notes Indebtedness, the Prepetition Collateral securing
                               the Secured Notes or any of the Prepetition Secured Parties (or if
                               the Debtors support, or fail to object to, any such motion, pleading,
                               application or adversary proceeding commenced by any third
                               party);

                       (p)     The entry of an order reversing, staying, vacating or otherwise
                               modifying in any material respect the terms of this Final Order
                               without the consent of the Ad Hoc Group and the Secured Notes
                               Trustee.

 Each of subparagraph (a) through (p) is referred to herein as a “Termination Event.” Upon and

 after delivery of the Default Notice, the Debtors and each of the Secured Notes Trustee and the

 Ad Hoc Group consent to a hearing on an expedited basis to consider whether (x) a Termination

 Event has occurred, (y) the automatic stay may be lifted so that the Prepetition Secured Parties

 may exercise any and all of their respective rights and remedies in respect of the Collateral in

 accordance with this Final Order, the applicable Secured Notes Documents, or applicable law, or

 (z) to consider any other appropriate relief (including, without limitation (i) the Secured Notes

 Trustee, acting at the direction of the Ad Hoc Group, foreclosing upon and selling all or a portion

 of the Prepetition Collateral or Collateral to collect any amounts due to the Prepetition Secured

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 Parties under the Secured Notes Indenture or pursuant to this Final Order and apply the same in

 accordance with the Secured Notes Documents (ii) to the extent relevant, what is the quantum of

 the Collateral Diminution and (iii) the Debtors’ use of Cash Collateral on a nonconsensual basis);

 provided that the rights of the Debtors to oppose any relief requested by the Prepetition Secured

 Parties and/or the Ad Hoc Group (and the rights of any Prepetition Secured Party or the Ad Hoc

 Group to oppose any request for relief by the Debtors or any other party-in-interest, including for

 the use of Cash Collateral on a nonconsensual basis) are, in each case, fully reserved. During the

 Default Notice Period, the Debtors shall be entitled to continue to use the Cash Collateral in

 accordance with the terms of the Budget and this Final Order. Any delay or failure of a

 Prepetition Secured Party to exercise rights under the Secured Notes Documents or this Final

 Order shall not constitute a waiver of their respective rights hereunder, thereunder or otherwise.

 Notwithstanding the occurrence of the Termination Date or anything herein, all of the rights,

 remedies, benefits and protections provided to the Prepetition Secured Parties under the Secured

 Notes Documents and this Final Order shall survive the Termination Date.

                9.       Limited Usage of Cash Collateral. The Debtors are authorized to use

 Cash Collateral solely as permitted by and in accordance with this Final Order and the Budget,

 and for such other expenses as may be agreed to by the Secured Notes Trustee, acting at the

 direction or with the consent of the Ad Hoc Group, in their sole discretion.

                10.      Limitation on Charging Expenses Against Collateral. All rights to

 surcharge any Prepetition Collateral or Collateral under section 506(c) of the Bankruptcy Code

 or any other applicable principle or equity or law shall be and are hereby waived, and such

 waiver shall be binding upon the Debtors and all parties in interest in the Cases; provided that the




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 Debtors reserve the right to seek the nonconsensual use of Cash Collateral on any basis, and the

 Prepetition Secured Parties reserve their rights to contest any such use on any basis.

                 11.      Reservation of Rights of the Prepetition Secured Parties. This Final

 Order and the transactions contemplated hereby shall be without prejudice to (i) the rights of the

 Prepetition Secured Parties to seek additional or different adequate protection, move to vacate

 the automatic stay, move for the appointment of a trustee or examiner, move to dismiss or

 convert the Cases, or to take another action in the Cases and to appear and be heard in any matter

 raised in the Cases, and (ii) any and all rights, remedies, claims and causes of action which the

 Prepetition Secured Parties may have against any non-Debtor party liable for the Secured Notes

 Indebtedness.

                 12.      Modification of Automatic Stay.        The Debtors are authorized and

 directed to perform all acts and to make, execute and deliver any and all instruments as may be

 reasonably necessary to implement the terms and conditions of this Final Order and the

 transactions contemplated hereby. The stay of section 362 of the Bankruptcy Code is hereby

 modified to permit the Debtors and each of the Prepetition Secured Parties to accomplish the

 transactions contemplated by this Final Order.

                 13.      Survival of Final Order. The provisions of this Final Order shall be

 binding upon any trustee appointed during the Cases or upon a conversion to cases under

 Chapter 7 of the Bankruptcy Code, and any actions taken pursuant hereto shall survive entry of

 any order which may be entered converting the Cases to Chapter 7 cases, dismissing the Cases

 under section 1112 of the Bankruptcy Code or otherwise, or confirming or consummating any

 plan(s) of reorganization or liquidation. The terms and provisions of this Final Order, as well as

 the priorities in payments, liens, and security interests granted pursuant to this Final Order shall



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 continue notwithstanding any conversion of the Cases to Chapter 7 cases under the Bankruptcy

 Code, dismissal of the Cases or confirmation or consummation of any plan(s) of reorganization

 or liquidation. Subject to the limitations described in paragraphs 17 and 18 of this Final Order,

 the adequate protection payments made pursuant to this Final Order shall not be subject to

 counterclaim, setoff, subordination, recharacterization, defense or avoidance in the Cases or any

 subsequent Chapter 7 cases (other than a defense that the payment has actually been made).

                14.      No Liability to Third Parties. In permitting the use of the Prepetition

 Collateral (including the Cash Collateral) or in exercising any rights or remedies as and when

 permitted pursuant to this Final Order, the Secured Notes Documents, or any applicable law, the

 Prepetition Secured Parties shall not: (i) be deemed to be in “control” of the operations of the

 Debtors; (ii) owe any fiduciary duty to the Debtors, their respective creditors, shareholders or

 estates; (iii) be deemed to be acting as a “Responsible Person” or “Owner” or “Operator” with

 respect to the operation or management of the Debtors (as such terms or similar terms are used in

 the United States Comprehensive Environmental Response, Compensation and Liability Act of

 1980 or any similar federal or state statute); and (iv) be deemed to be acting as a permittee,

 operator or any other person with liability for reclamation obligations under the Surface Mining

 Control and Reclamation Act of 1977 and similar state statutes.

                15.      Binding Effect. The terms of this Final Order shall be valid and binding

 upon the Debtors, all creditors of the Debtors and all other parties in interest from and after the

 entry of this Final Order by this Court. In the event the provisions of this Final Order are

 reversed, stayed, modified or vacated following any further hearing, such reversals,

 modifications, stays or vacatur shall not affect the rights and priorities of the Prepetition Secured

 Parties granted pursuant to this Final Order.



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                16.      Reversal, Stay, Modification or Vacatur. Notwithstanding any such

 reversal, stay, modification or vacatur, any indebtedness, obligation or liability incurred by the

 Debtors pursuant to this Final Order or the Interim Order, as applicable, arising prior to the

 Secured Notes Trustee and Ad Hoc Group’s receipt of notice of the effective date of such

 reversal, stay, modification or vacatur shall be governed in all respects by the original provisions

 of this Final Order, and the Prepetition Secured Parties shall continue to be entitled to all of the

 rights, remedies, privileges and benefits, including any payments authorized herein and the

 security interests and liens granted herein, with respect to any such indebtedness, obligation or

 liability, and the validity of any payments made or obligations owed or credit extended or lien or

 security interest granted pursuant to this Final Order is and shall remain subject to the protection

 afforded hereunder and under the Bankruptcy Code.

                17.      Reservation of Certain Third Party Rights and Bar of Challenge and

 Claims. The Debtors’ admissions and releases contained in paragraphs C, D, E and F of this

 Final Order: (i) shall be binding upon the Debtors for all purposes; and (ii) shall be binding upon

 all other parties in interest, including the Committee, if any, for all purposes unless and only to

 the extent (1) a party other than the Debtors (subject in all respects to any agreement or

 applicable law which may limit or affect such entities right or ability to do so) has properly filed

 an adversary proceeding or contested matter by no later than the date that is sixty (60) days from

 the date of entry of the Interim Order or, in the case of the UCC, seventy-five (75) days from the

 date the UCC was appointed (the “Committee Challenge Deadline”) (provided that so long as the

 UCC has filed a motion with the Court prior to the Committee Challenge Deadline seeking

 standing to pursue a Challenge, then the Committee Challenge Deadline shall be extended until

 the date that is two (2) business days after the Court rules on such request) (x) challenging the



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 amount, validity, enforceability, priority or extent of the Secured Notes Indebtedness or the

 Prepetition Secured Parties’ security interests in and liens upon the Prepetition Collateral, or

 (y) otherwise asserting any claims or causes of action against the Prepetition Secured Parties on

 behalf of the Debtors’ estates, and (2) a final decision has been rendered in favor of the plaintiff

 in any such timely and properly filed adversary proceeding or contested matter (each

 a “Challenge”). If no such Challenge is properly filed as of such dates or to the extent a final

 decision in favor of the plaintiff is not rendered in any such proceeding, then: (a) the Debtors’

 admissions and releases contained in paragraphs C, D, E and F of this Final Order shall be

 binding on all parties in interest, including the UCC and any other statutory committee; (b) the

 Secured Notes Indebtedness of the Debtors under the Secured Notes Documents, including the

 June 2017 Interest Payment, shall constitute allowed secured claims for all purposes in the Cases,

 and any subsequent Chapter 7 case(s); (c) subject only to the Senior Permitted Liens, the

 Prepetition Secured Parties’ security interests in and liens upon the Prepetition Collateral shall be

 deemed to have been, as of Petition Date, legal, valid, binding, and perfected first-priority

 security interests and liens, not subject to recharacterization, subordination or otherwise

 avoidable; and (d) the Secured Notes Indebtedness and the Prepetition Secured Parties’ security

 interests in and liens on the Prepetition Collateral shall not be subject to any other or further

 challenge by the Committee or any other party in interest seeking to exercise the rights of the

 Debtors’ estates, including, without limitation, any successor thereto. If any such adversary

 proceeding or contested matter is properly filed as of such dates, the Debtors’ admissions and

 releases contained in paragraphs C, D, E and F of this Final Order shall nonetheless remain

 binding and preclusive (as provided in the second sentence of this paragraph) except to the extent

 that such admissions and releases were expressly and successfully challenged in such adversary



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 proceeding or contested matter. Nothing contained in this Final Order shall be deemed to grant

 standing to the UCC or any other party to commence any such adversary proceeding or contested

 matter.

                18.      Limitation on Use of Collateral. Notwithstanding the foregoing or any

 other provision of this Final Order, no Cash Collateral may be used to: (a) object to, contest or

 raise any defense to, the validity, perfection, priority, extent or enforceability of the Secured

 Notes Indebtedness, or the liens or claims granted under this Final Order or the Secured Notes

 Documents and/or assert any claims, defenses or causes of action against the Prepetition Secured

 Parties or their respective agents, affiliates, representatives, attorneys, or advisors; (b) prevent,

 hinder, or otherwise delay the Secured Notes Trustee’s assertion, enforcement, or realization on

 the Cash Collateral or the Collateral in accordance with the Secured Notes Documents or this

 Final Order; (c) seek to modify any of the rights granted in this Final Order or the Secured Notes

 Documents without the Secured Notes Trustee and Ad Hoc Group’s prior written consent; or

 (d) pay any amount on account of any claims arising prior to the Petition Date unless such

 payments are approved by an Order of this Court and otherwise provided for in accordance with

 the Budget. Notwithstanding the foregoing, advisors to the Committee may investigate the

 claims and liens of the Prepetition Secured Parties prior to the Committee Challenge Deadline at

 an aggregate expense not to exceed $150,000; provided that nothing in this paragraph 18 shall be

 considered a cap or limitation on the amount of Allowed Professional Fees due and payable by

 the Debtors.

                19.      Enforceability; Waiver of Any Applicable Stay. This Final Order shall

 constitute findings of fact and conclusions of law and shall take effect and be fully enforceable

 nunc pro tunc to the Petition Date immediately upon entry hereof. Notwithstanding Bankruptcy



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 Rules 6004(h), 6006(d), 7062 or 9014 or any other Bankruptcy Rule, or Rule 62(a) of the Federal

 Rules of Civil Procedure, this Final Order shall be immediately effective and enforceable upon

 its entry and there shall be no stay of execution or effectiveness of this Final Order.

                20.      No Impact on Certain Contracts or Transactions. No rights of any

 entity in connection with a contract or transaction of the kind listed in sections 555, 556, 559,

 560 and 561 of the Bankruptcy Code, whatever they might or might not be, are affected by the

 provisions of this Final Order.

                21.      Proofs of Claim. None of the Prepetition Secured Parties will be

 required to file proofs of claim in any of the Cases or successor cases with respect to the

 Secured Notes Indebtedness, and the Debtors’ stipulations in paragraphs C, D, E and F herein

 shall be deemed to constitute a timely filed proof of claim against the applicable Debtors.

 Notwithstanding the foregoing, the Secured Notes Trustee is hereby authorized and entitled,

 but not required, to file (and amend and/or supplement, as it sees fit) a consolidated proof

 of claim against all of the Debtors in accordance with the Secured Notes Indenture; provided,

 that nothing herein shall waive the right of any Prepetition Secured Party to file its own proofs of

 claim against the Debtors.

                22.      Section 552(b) of the Bankruptcy Code. The Prepetition Secured Parties

 shall each be entitled to all of the rights and benefits of section 552(b) of the Bankruptcy Code

 and the “equities of the case” exception under section 552(b) of the Bankruptcy Code shall not

 apply to the Prepetition Secured Parties with respect to proceeds, products, offspring or profits of

 any of the Prepetition Collateral or the Collateral.

                23.      No Marshaling. Other than as provided in the proviso to paragraph 3(b)

 hereof, no Prepetition Secured Party shall be subject to the equitable doctrine of “marshaling” or



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 any other similar doctrine with respect to any of the Prepetition Collateral or Collateral, as

 applicable.

                24.      Headings. The headings in this Final Order are for purposes of reference

 only and shall not limit or otherwise affect the meaning of this Final Order.

        No later than two business days after entry of this Final Order, the Debtors shall serve

 a copy of this Final Order on the Notice Parties and shall file a certificate of service no later than

 twenty-four (24) hours after service.

                                                              KATHY A. SURRATT-STATES
                                                             Chief United States Bankruptcy Judge
DATED: December 1, 2017
St. Louis, Missouri
jjh




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                                   EXHIBIT A

                                     Budget
                                        Cash Collateral Budget as of 11/24/2017
                                                                                                                                                                                                                                                                                                 13-Week
                                       Week:      20-Nov         27-Nov          4-Dec         11-Dec         18-Dec         25-Dec          1-Jan          8-Jan         15-Jan         22-Jan                 29-Jan                              5-Feb         12-Feb        19-Feb             Total
                            Actual / Forecast      Fcst           Fcst            Fcst          Fcst           Fcst           Fcst           Fcst           Fcst           Fcst           Fcst                   Fcst                                Fcst          Fcst          Fcst               Fcst
Beginning Cash Balance                          $ 33,568,611   $ 31,514,227   $ 30,638,638   $ 28,169,490   $ 27,247,886   $ 21,928,178   $ 21,624,657   $ 18,548,446   $ 14,790,721   $ 14,133,827   $ 14,159,298                               $ 10,315,375   $ 6,751,688   $ 9,034,897    $ 33,568,611




                                                                                                                                                                                                                          Case 17-47541
Estimated Receipts
  Total Receipts                                    476,080      5,094,889        328,734      5,791,341        583,832      4,488,004        193,467        983,475      2,646,892      5,167,349                    935,781                        550,000      4,881,333      687,500         32,808,677

Estimated Disbursements - STL
  Pay & Benefits (STL)                              250,000        831,448        250,000        350,000        250,000        831,448        250,000        250,000        350,000        250,000              831,448                              250,000       350,000        250,000         5,544,344
  Lease Payments                                    133,765        252,270        185,947        205,340        175,884         11,865        407,707        205,340        168,475          7,410              252,270                              155,436       199,271        175,884         2,536,864
  Commissions and Royalties                              (0)         1,200            -              -        1,230,685            773        601,200            -              -          573,696                1,200                                  -             -        1,021,261         3,430,016
  SG&A                                               50,000         81,000         56,500         50,000        110,000         81,000        176,500         50,000         95,000         50,000               81,000                               56,500        50,000         95,000         1,082,500
Total Estimated Disbursements - STL                 433,765      1,165,918        492,447        605,340      1,766,569        925,086      1,435,407        505,340        613,475        881,106            1,165,918                              461,936       599,271      1,542,145        12,593,724




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Estimated Disbursements - MDV
  Pay & Benefits (MDV)                                  -        1,756,000            -        2,448,785            -        1,646,250            -        1,802,099            -        1,536,500                  -                              1,536,500            -       1,622,099        12,348,233
  Direct Mining Costs                             2,041,700      2,120,521      1,875,435      2,376,771      2,194,471      1,914,271      1,734,271      2,299,271      1,444,471      2,664,271            1,520,250                            2,085,250      1,230,450     2,450,250        27,951,653
  Taxes                                                 -          203,038         30,000        882,049        600,000         80,918            -          110,918        368,091            -                603,737                               30,000        768,404           -           3,677,155
Total Estimated Disbursements - MDV               2,041,700      4,079,559      1,905,435      5,707,605      2,794,471      3,641,439      1,734,271      4,212,288      1,812,562      4,200,771            2,123,987                            3,651,750      1,998,854     4,072,349        43,977,041




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Estimated Chapter 11 Disbursements
  Utility Deposits                                      -              -              -              -              -              -              -              -              -              -                    -                                       -           -            -                  -
  Professional Fees                                     -          125,000            -              -        1,242,500        125,000            -              -          877,750            -              1,489,800                                     -           -        793,167          4,653,217
  US Trustee Fees                                       -              -              -              -              -              -              -              -              -           60,000                  -                                       -           -            -               60,000
  Shippers / Lienholders                             55,000        600,000        400,000        400,000        100,000        100,000        100,000         23,571            -              -                    -                                       -           -            -            1,778,571
Total Estimated Chapter 11 Disbursements             55,000        725,000        400,000        400,000      1,342,500        225,000        100,000         23,571        877,750         60,000            1,489,800                                     -           -        793,167          6,491,788




                                                                                                                                                                                                                 Pg 36 of 36
Total Disbursements                               2,530,465      5,970,477      2,797,882      6,712,946      5,903,540      4,791,525      3,269,677      4,741,200      3,303,786      5,141,877            4,779,705                            4,113,686      2,598,124     6,407,661        63,062,553

Net Cash Flow                                    (2,054,385)      (875,588)    (2,469,148)      (921,604)    (5,319,708)      (303,521)    (3,076,211)    (3,757,725)      (656,895)        25,472        (3,843,923)                             (3,563,686)     2,283,208    (5,720,161)       (30,253,876)

Ending Cash Balance                             $ 31,514,227   $ 30,638,638   $ 28,169,490   $ 27,247,886   $ 21,928,178   $ 21,624,657   $ 18,548,446   $ 14,790,721   $ 14,133,827   $ 14,159,298   $ 10,315,375                               $ 6,751,688    $ 9,034,897   $ 3,314,736    $    3,314,736




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